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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
 _______________________________
       )
                                 )
 IN RE: PETITION OF BENJAMIN     )
 WITTES ET AL.                   )  Misc. No. 18-00125 (BAH)
                                 )
                                 )
                                 )



                                STIPULATION OF DISMISSAL

        Petitioners and the Department of Justice hereby stipulate to dismissal of the Petition,

without prejudice, as to the portions of the Watergate “Roadmap” that remain redacted in the

version that was released to the public on October 31, 2018. As a result, no further adjudication

of this matter is required.



Dated: April 15, 2019                 Respectfully submitted,



PETITIONERS BENJAMIN WITTES,                          JOSEPH H. HUNT
JACK GOLDSMITH, and STEPHEN BATES                     Assistant Attorney General

/s/ Laurence Schwartztol_________________             /s/ Elizabeth J. Shapiro
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